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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


James A. Burk, Jr., et al.                      :
                                                :
               Plaintiffs,                      :        Civil Action No. 2:20-cv-6256
                                                :
       v.                                       :        Judge Graham
                                                :
City of Columbus, et al.,                       :        Magistrate Judge Vascura
                                                :
               Defendants.                      :


                             ORDER AMENDING CASE SCHEDULE

       This matter comes before the Court on the parties’ Joint Motion to Extend and Modify

Case Schedule (ECF No. 26). The Court hereby GRANTS the parties’ motion and ORDERS

new case dates be set as follows:

               •       Discovery cut-off:                December 15, 2022

               •       Dispositive motion(s):            February 15, 2023


       IT IS SO ORDERED.


                                                     /s/ Chelsey M. Vascura
                                                    __________________________________
                                                    CHELSEY M. VASCURA
                                                    UNITED STATES MAGISTRATE JUDGE
